                 Case 1:11-cr-00353-DAD-BAM Document 130 Filed 10/08/15 Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Eastern District
                                                      __________ Districtofof
                                                                           California
                                                                              __________

                    United States of America
                               v.                                          )
                   JOSE ALFREDO JIMENEZ                                    )
                                                                           )    Case No: 1:11-cr-00353-004
                                                                           )    USM No: 66609-097
Date of Original Judgment:                            10/15/2013           )
Date of Previous Amended Judgment:                                         )    Hannah Rose Labaree, FD
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   57                      months is reduced to 46 months                            .
                                             (Complete Parts I and II of Page 2 when motion is granted)


**If this sentence is less than the amount of time the defendant has already served as of November 1, 2015, the
sentence is reduced to a time served sentence.




Except as otherwise provided, all provisions of the judgment dated                          10/24/2013              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  10/08/2015                                                         /s/ ANTHONY W. ISHII
                                                                                                         Judge’s signature


Effective Date:              11/01/2015                                        Senior United States District Judge Anthony W. Ishii
                     (if different from order date)                                                    Printed name and title
